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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

Defendant.

)
UNITED STATES OF AMERICA )
)
Vv. )
) Criminal No. 19-10080-NMG
DOUGLAS HODGE, )
)
)
)

 

DECLARATION OF JOAN MCPHEE IN
SUPPORT OF DOUGLAS HODGE’S MOTION PURSUANT TO
28 U.S.C. § 2255 TO SET ASIDE HIS PLEA, IN PART, AND FOR
RE-SENTENCING ON THE REMAINING COUNT OF CONVICTION

I, Joan McPhee, declare as follows:

1. I am a member of the Massachusetts bar, and I am a partner at Ropes & Gray LLP.
I am counsel of record for Defendant Douglas Hodge in the above-captioned case. I submit this
declaration in support of Mr. Hodge’s Motion Pursuant to 28 U.S.C. § 2255 to Set Aside His Plea,
in Part, and for Re-Sentencing on the Remaining Count of Conviction.

2. On October 11, 2019, during a call with Assistant U.S. Attorney Eric Rosen, Mr.
Rosen stated that, if Mr. Hodge did not plead guilty to the charges in the then-operative indictment,
he would be charged in a superseding indictment, coming “very, very soon,” with federal program
bribery under 18 U.S.C. § 666—a charge that, Mr. Rosen reported, U.S. Attorney Andrew Lelling
“wants.”

3. Attached hereto as Exhibit A is a true and correct copy of a note from William
“Rick” Singer’s iPhone memorializing his interactions with FBI agents on October 2, 2018, which
was produced to Mr. Hodge on February 26, 2020.

4. Attached hereto as Exhibit B is a true and correct copy of a letter from the
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government to Mr. Hodge’s counsel dated January 24, 2020.

5. Attached hereto as Exhibit C is a true and correct copy of a FD-1023 report of an
interview with Singer on November 1, 2018, which was produced to Mr. Hodge on March 9, 2020.

6. Attached hereto as Exhibit D is a true and correct copy of a FD-1023 report of an
interview with Singer on December 12, 2018, which was produced to Mr. Hodge on March 9,
2020.

7. Attached hereto as Exhibit E is a true and correct copy of excerpts from the
transcript of defendant Jeffrey Bizzack’s sentencing hearing before Judge Woodlock in United
States v. Bizzack, No 19-10222-DPW on October 30, 2019.

8. Attached hereto as Exhibit F is a true and correct copy of a FD-1023 report of an
interview with Singer on September 26, 2018, which was produced to Mr. Hodge on March 9,
2020.

a Attached hereto as Exhibit G is a true and correct copy of a FD-1023 report of an
interview with Singer on September 21, 2018, which was produced to Mr. Hodge on March 9,
2020.

10. Attached hereto as Exhibit H is a true and correct copy of a FD-302 report of an
interview with Laura Janke on March 25, 2019, which was produced to Mr. Hodge on March 9,
2020.

11. Attached hereto as Exhibit I is a true and correct copy of an excerpt from a
transcript of a video presentation by Singer in or around June 2018, which was produced to Mr.
Hodge on April 1, 2020.

12. Attached hereto as Exhibit J is a true and correct copy of a FD-302 report of an

interview with Stephen Lopes on January 24, 2019, which was produced to Mr. Hodge on March
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9, 2020.

13. Attached hereto as Exhibit K is a true and correct copy of a FD-302 report of an
interview with Ali Khosroshahin on June 28, 2019, which was produced to Mr. Hodge on March

9, 2020.

Pursuant to 28 U.S.C. § 1746, I, Joan McPhee, certify under penalty of perjury that the

foregoing is true and correct.

Executed this Ist day of May 2020 in the Commonwealth of Massachusetts.

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(Igan McPhee Sp
